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                                          UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                      (Alexandria Division)


             UNITED STATES OF AMERICA, et al.,
                      Plaintiffs,                                    Case No. 1:23-cv-00108-LMB-JFA
             v.
                                                                    DECLARATION OF
                                                                    MICHAEL SHAUGHNESSY
             GOOGLE LLC,
                      Defendant.




                    I, Michael Shaughnessy, hereby declare as follows:


                    1.       I am Chief Operating Officer at Kargo Global, Inc. (“Kargo”), based in New York,

            NY. Among other duties, I oversee strategy and operations at Kargo.

                    2.       Founded in 2003, Kargo is an advertising business that transforms standard creative

            materials to deliver bespoke marketing experiences for some of the largest advertisers and best

            publishers in the world. Kargo is a global company headquartered in New York with offices in

            Chicago, Los Angeles, Detroit, Dallas, Waterford, Sydney, and Auckland. With a suite of

            exclusive, full-funnel advertising solutions, Kargo is the choice for leading brands looking to drive

            meaningful customer connections across mobile, desktop, connected television, and

            social. Focused on performance, Kargo helps the world’s largest advertisers achieve incremental

            brand lift and higher returns on ad spend. For publishers, Kargo’s proprietary platform maximizes

            revenue per impression through unique creative and targeting solutions.

                    3.       Kargo responded to a Civil Investigative Demand issued by the Department of

            Justice (“DOJ”) in 2020 as part of government’s investigation of Defendant Google LLC’s



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            (“Google”) ad tech conduct. In March 2023, DOJ served a subpoena on Kargo in the instant matter.

            In May 2023, Google also served a subpoena on Kargo. Davis+Gilbert LLP (“Davis+Gilbert”)

            and Greenstein Delorme & Luchs, P.C. (“GDL”) (collectively, “Counsel for Kargo”) represented

            Kargo in connection with responding to both of those subpoenas and assisted Kargo with collection

            and production of documents responsive to both subpoenas.

                    4.       In connection with my duties, I have personal knowledge of the contents of and

            circumstances surrounding the documents produced by Kargo in this Action. I understand that one

            of those documents bears the Bates stamp KARGO_0000063 and has been designated and marked

            as Confidential, awarding it certain protections pursuant to the operative protective order in this

            action because it contains commercially sensitive information (the “Confidential Kargo

            Document”). I have been advised that the Confidential Kargo Document has been filed under seal

            (ECF. No. 660).

                    5.       In further connection with my duties, Plaintiff United States deposed me on August

            9, 2023.

                    6.       I have been advised that documents containing direct quotations and

            characterizations of my deposition testimony are currently filed under seal and have been restricted

            from public view (the “Sealed Pleadings”). I have been further advised that the Sealed Documents

            may be unsealed in the near future.

                    7.       As a result, I understand that, on Kargo’s behalf, Counsel for Kargo has filed

            herewith a response to pending motions to continue sealing confidential documents previously

            filed under seal (the “Response”) to request that the Sealed Documents continue to be restricted

            from public view.

                    8.       I have reviewed and am familiar with the Motion, and I can verify that the Motion’s

            description of the Sealed Pleadings and the Confidential Kargo Document – and the damage their

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            disclosure would cause Kargo – is true and accurate. In particular, I am familiar with and can

            verify that the chart reflecting the Sealed Pleadings and the Confidential Kargo Document is true

            and accurate.

                    9.       I have been able to review the Kargo Confidential Document and the quoted

            portions of my deposition testimony contained in the Sealed Pleadings.

                    10.      I have been advised of the general topics at issue in the pending Action. It is my

            understanding that the Kargo Confidential Document and quoted portions of my testimony are

            only generally relevant but not directly dispositive of any of these issues, but they would expose

            Kargo’s highly sensitive internal information.

                    11.      Because the Sealed Pleadings are sealed, neither Counsel for Kargo nor I have been

            able to review the entirety of the Sealed Pleadings and understand the context, accuracy, or nature

            of those characterizations, and so specific redactions of that material would not be sufficient to

            protect Kargo’s privacy as a non-party.

                    12.      Publicity surrounding or disclosure of the Sealed Pleadings, including the

            Confidential Kargo Document and my quotations or characterizations of my testimony in

            connection with this action will cause Kargo significant commercial and competitive harm.

                    13.      The harm to Kargo’s commercial and competitive interests caused by such public

            disclosure would be ongoing and could not be prevented by more tailored redactions.




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                    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

            United States of America that the foregoing is true and correct.

                              14
            Executed on June ____, 2024


                                                                         ________________________
                                                                            Michael Shaughnessy




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